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                            IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF ARKANSAS
                                    EL DORADO DIVISION


UNITED STATES OF AMERICA                             )
                                                     )
                                                     )
VS.                                                  )     CRIMINAL NO. 1:13CR10026-003
                                                     )
                                                     )
SHAWN D. CAREY                                       )


                                                 ORDER

        On the 8th day of July, 2014, the above styled and numbered case came before the Court for a

hearing in regard to the Defendant’s competency to stand trial. The Government was represented by

Assistant United States Attorney Jonathan D. Ross. The Defendant was present and was represented by

his attorney, Jeffrey S. Harrelson. Based upon the psychological evaluation conducted by Dr. Jeremiah

Dwyer, Ph.D, Federal Bureau of Prisons Forensic Psychologist, the Court finds by a preponderance of

the evidence that the Defendant is presently suffering from a mental disease or defect rendering him

mentally incompetent to the extent that he is unable to understand the nature and consequences of the

proceedings against him or to assist properly in his defense.

        IT IS THEREFORE ORDERED that, pursuant to 18 U.S.C. § 4241(d), the Defendant is hereby

committed to the custody of the Attorney General or his authorized representative to hospitalize the

Defendant for further assessment, evaluation and treatment in a suitable facility for such a reasonable

period of time, not to exceed four months, as is necessary to determine whether there is a suitable

probability that in the foreseeable future he will attain the capacity to permit the trial to proceed.

        IT IS SO ORDERED, this 9th day of July, 2014.




                                                           /s/ Harry F. Barnes
                                                           HARRY F. BARNES
                                                           UNITED STATES DISTRICT JUDGE
